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                          United States District Court
                                                  Western District of Wisconsin
                   UNITED STATES OF AMERICA                                  AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                               (for offenses committed on or after November 1, 1987)

                                       V.                                             Case Number:            08-CR-75-C-01

                                  FIDEL HOLGUIN                              Defendant's Attorney:            Tracey W ood




The defendant, Fidel Holguin, pleaded guilty to count 6 of the indictm ent.

Counts 1-5 and 7 of the indictm ent are dism issed on the m otion of the United States.


ACCORDINGLY, the court has adjudicated defendant guilty of the following offense(s):
                                                                                                           Date Offense            Count
Title & Section                             Nature of Offense                                              Concluded             Num ber(s)
21 U.S.C. § 841                             Distribution of 500 Gram s or More of a Mixture or             Septem ber 10,            6
                                            Substance Containing Cocaine, a Class B felony                 2007


The defendant is sentenced as provided in pages 2 through 6 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin 30 days
of any change of nam e, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgm ent are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
States Attorney of any material change in the defendant’s econom ic circum stances.




  Defendant's Date of Birth:                   June 26, 1986                                                  December 1, 2008
                                                                                                       Date of Imposition of Judgment
  Defendant's USM No.:                         06616-090

  Defendant's Residence Address:               c/o Lucio Holguin (father)
                                               1861 Fayette Avenue
                                               Beloit, WI 53511                                                 /s/ Barbara B. Crabb
                                                                                                              Barbara B. Crabb
  Defendant's Mailing Address:                 c/o Bureau of Prisons
                                                                                                               District Judge

                                                                                                             December 17, 2008
                                                                                                                 Date Signed:
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                                                  IMPRISONMENT
As to count six of the indictm ent, it is adjudged that defendant is com m itted to the custody of the Bureau of Prisons for
im prisonm ent for a term of 87 m onths.

I recom m end that defendant be afforded the opportunity to participate in substance abuse education and treatm ent program s,
as well as vocational training, while confined and that he be afforded a pre-release placem ent in a residential re-entry center
with work release privileges.




                                                           RETURN
      I have executed this judgment as follow s:




      Defendant delivered on                                     to

at                                  , with a certified copy of this judgm ent.




                                                                                  UNITED STATES MARSHAL
                                                         By
                                                                                        Deputy Marshal
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                                             SUPERVISED RELEASE
The term of im prisonm ent is to be followed by a five-year term of supervised release.

Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

Defendant shall not com m it another federal, state, or local crim e.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm , destructive device, or other dangerous
weapon while on supervised release.

Defendant shall cooperate with the collection of DNA by the U.S. Justice Departm ent and/or the U.S. Probation and Pretrial
Services Office as required by Public Law 108-405.

If this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay any
such fine or restitution that rem ains unpaid at the com m encem ent of the term of supervised release in accordance with the
Schedule of Paym ents set forth in the Financial Penalties sheet of this judgm ent.

Defendant shall com ply with the standard conditions that have been adopted by this court (set forth on the next page).

In light of the nature of the offense and defendant’s use of controlled substances, the following special conditions are
appropriate. Defendant is to:

1.    Register with local law enforcem ent agencies and the state attorney general as directed by the supervising U.S. probation
      officer;

2.    Provide the supervising U.S. probation officer any and all requested financial inform ation;

3.    Subm it his person, property, residence, office or vehicle to a search conducted by a U.S. probation officer at a reasonable
      tim e and in a reasonable m anner whenever the probation officer has reasonable suspicion of contraband or of the
      violation of a condition of release; failure to subm it to a search m ay be a ground for revocation; defendant shall warn any
      other residents that the prem ises he is occupying m ay be subject to searches pursuant to this condition; and

4.    Abstain from the use of illegal drugs and alcohol and from association with drug users and sellers and participate in
      substance abuse treatm ent. Defendant shall subm it to drug testing beginning within 15 days of his release and 60 drug
      tests annually thereafter. The probation office m ay utilize the Adm inistrative Office of the U.S. Courts’ phased collection
      process.
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                                  STANDARD CONDITIONS OF SUPERVISION
    1)   Defendant shall not leave the judicial district without the perm ission of the court or probation officer;

    2)   Defendant shall report to the probation officer as directed by the court or probation officer and shall subm it a
         truthful and com plete written report within the first five days of each m onth;

    3)   Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

    4)   Defendant shall support his or her dependents and m eet other fam ily responsibilities;

    5)   Defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

    6)   Defendant shall notify the probation officer at least ten days prior to any change in residence or em ploym ent;

    7)   Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or
         adm inister any narcotic or other controlled substance, or any paraphernalia related to such substances except as
         prescribed by a physician;

    8)   Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         adm inistered;

    9)   Defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any
         person convicted of a felony unless granted perm ission to do so by the probation officer;

  10)    Defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

  11)    Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcem ent officer;

  12)    Defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent
         agency without the perm ission of the court;

  13)    As directed by the probation officer, defendant shall notify third parties of risks that m ay be occasioned by
         defendant's crim inal record or personal history or characteristics, and shall perm it the probation officer to m ake
         such notifications and to confirm defendant's com pliance with such notification requirem ent.
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                                     CRIMINAL MONETARY PENALTIES
Defendant shall pay the following total financial penalties in accordance with the schedule of paym ents set forth below.


                           Count       Assessment             Fine                  Forfeiture

                              6        $100.00                $0.00                 $10,695.00, plus
                                                                                    property listed below

                            Total      $100.00                $0.00                 $10,695.00, plus
                                                                                    property listed below


It is adjudged that defendant is to pay a $100 crim inal assessm ent penalty to the Clerk of Court for the W estern District of
W isconsin im m ediately following sentencing. Defendant does not have the m eans to pay a fine under § 5E1.2(c) without
im pairing his ability to support him self upon release.

On Septem ber 24, 2008, I entered a Prelim inary Order of Forfeiture, pursuant to the plea agreem ent in this case, ordering the
forfeiture of currency and num erous item s of personal property. Defendant’s rights, title and interest in the following property
are hereby forfeited, pursuant to 21 U.S.C. § 853 and Rule 32.2(d)(2):


                        $10,695 in U.S. currency
                  (1)   1999 Black Ford Crown Victoria (VIN 2FAFP71W 3XX173773)
                  (1)   1990 Tan Lincoln Towne Car (VIN ILNM83F3LY677934)
                  (1)   1976 Tan/Red Cutless Suprem e (VIN 3J57R6R103959)
                  (1)   Charbroil Gas/LP Grill, Model # 463631706 (New in box)
                  (1)   2-Unit Master Force (Menards) Rolling Tool Chest # 1050800.0297 (New)
                  (1)   Powerm ate Im pact W rench # P024-00995P
                  (1)   3" Pneum atic Cut-off Tool
                  (1)   McCulloch Power W asher #FHH18A
                  (1)   Shopvac 10gal W et/Dry 3hp Vacuum #86L300
                  (1)   Sanborn 30gal 155 psi Air Com pressor #034-0164
                  (1)   Phillips 50" Flat Screen TV, Serial Num ber YA1A0730001146
                  (1)   SPL 6.5 2-W ay Speaker set, AS-6520 (New in box)
                  (1)   Power Acoustic 7-band Passive Graphic Equalizer
                  (1)   PEQ-70 (New in box)
                  (2)   Pyle 6" Rear View Monitors with cam eras, PLCM6000 (New in box)
                  (2)   Visionik Subwoofer Speaker Box, VBX12A (New in box)
                  (1)   Brutus Hifonics 2000W att Am plifier, BX12006D (New in Box)
                  (1)   Ultim ate Design LED Tail Light, 25-793SNLED-JDM (New in box)
                  (1)   Profile 2-way Cone Speaker, PS5720 (New in box)
                  (1)   Pyle View 15" Flip Down LCD Monitor, PLVW R1542 (New in box)
                  (2)   Rockford Fosgate Subwoofers, P3D412 (New in box)
                  (1)   Brutus 2000 W att Am plifier, BX12008D (New in box)
                  (1)   JVC DVD/CD Receiver (car), KD-AVX44 (New in box)
                  (2)   Boss Full Range Speakers, RIP4604 (New in box)
                  (1)   Brutus Am plifier, BX11606D
                  (4)   Legacy Am p Hookup Kits (New in box)
                  (1)   VR Power Capacitor, VRPC1000
                  (1)   Sledge Ham m er MTX Subwoofer, Thinder 9500 (New in box)
                  (1)   Bostitch Nailer, SB1850BN
                  (1)   Black and Decker Cordless Screwdrivers, 498788-13 #3
                  (1)   Pioneer Prim ere Speaker, 1200 W att, TS-W 1207D2
                  (1)   Sony CD/DVD player (TV), m odel DVP-NS57P, S/N 5127498

In all other respects, the judgm ent entered on Novem ber 18, 2008, rem ains the sam e.
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                                          SCHEDULE OF PAYMENTS
Paym ents shall be applied in the following order:
                                                         (1) assessm ent;
                                                         (2) restitution;
                                                         (3) fine principal;
                                                         (4) cost of prosecution;
                                                         (5) interest;
                                                         (6) penalties.


The total fine and other m onetary penalties shall be due in full im m ediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgm ent im poses a period of
im prisonm ent, paym ent of m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalties,
except those paym ents m ade through the Federal Bureau of Prisons’ Inm ate Financial Responsibility Program , are m ade to
the clerk of court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

In the event of a civil settlem ent between victim and defendant, defendant m ust provide evidence of such paym ents or
settlem ent to the Court, U.S. Probation office, and U.S. Attorney’s office so that defendant’s account can be credited.
